                     Case 2:15-cv-05642-CAS-JC Document 399 Filed 07/03/19 Page 1 of 1 Page ID #:7186
    UNITED STATES DISTRICT COURT                           TRANSCRIPT ORDER FORM                                         COURT USE ONLY
   CENTRAL DISTRICT OF CALIFORNIA         Please use one form per court  reporter per case, and contact court reporter    DUE DATE:
                                       directly immediately after e-filing form. (Additional instructions on next page.)
   1a. Contact Person                                                                       2a. Contact Phone                                                3a. Contact E-mail
       for this Order
                        Gabriella Nourafchan                                                    Number
                                                                                                                        310-312-3290                             Address
                                                                                                                                                                                       gan@msk.com


   1b. Attorney Name                                                                       2b. Attorney Phone                                                3b. Attorney E-mail
       (if different)                                                                          Number                                                            Address

  4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                    5. Name & Role of
  Mitchell, Silberberg & Knupp LLP                                                                                Party Represented
                                                                                                                                          Defendants - Lukasz Gottwald, Jordan Houston, Sarah Theresa Hudson, et al.
  2049 Century Park East
  18th Floor                                                                                                   6. Case Name               Marcus Gray et al. v. Katy Perry et al.
  Los Angeles, CA 90067
                                                                                                               7a. District Court                                                            7b. Appeals Court
                                                                                                                   Case Number
                                                                                                                                          2:15-cv-05642-CAS-JC                                   Case Number
                                                                                                                                                                                                                  N/A

  8. INDICATE WHETHER PROCEEDING WAS (choose only one per form):
                    DIGITALLY RECORDED                         TRANSCRIBED BY A COURT REPORTER; NAME OF COURT REPORTER: Laura Elias


 9. THIS TRANSCRIPT ORDER IS FOR:                Appeal             Non-Appeal                           Criminal              Civil                 CJA        USA             FPD          In forma pauperis (Court order for transcripts must be attached)

                                                                                                                                                                           You MUST check the docket to see if the transcript has already been filed, and if so,
 10. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested, format(s), and delivery type):                                 provide the "Release of Transcript Restriction" date in column c, below.
  a. HEARING(S) OR PORTIONS OF HEARINGS (Attach additional pages if necessary. If sealed, a court                                                             (CM/ECF access included          c. RELEASE OF TRANS.
  order releasing transcript to the ordering party must be attached here or emailed to                                          b. SELECT FORMAT(S)                                                                             d.     DELIVERY TYPE
                                                                                                                                                             with purchase of transcript.)      RESTRICTION DATE
  transcripts_cacd@cacd.uscourts.gov.)
                                                            PROCEEDING TYPE / PORTION                                                     TEXT /            CONDEN-    CM/ECF                     (Provide release date of        (One per line, but check with
         DATE                  JUDGE                                                                                             PDF                                            WORD
                                                                                                                                                                                               efiled transcript, or check to    court reporter before choosing
                                          If requesting less than full hearing, specify portion (e.g., witness or time). CJA               ASCII    PAPER      SED     ACCESS
                            (name)           orders: indicate if openings, closings, voir dire, or instructions requested.
                                                                                                                                (email)
                                                                                                                                          (email)            (email)    (web)
                                                                                                                                                                              INDEXING
                                                                                                                                                                                                 certify none yet on file. )       any type but "ordinary.")
                                         Final Pretrial Conference                                                                ●                                                              ●                              3-Day
     07/01/2019            Snyder




 11. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC. CJA Orders: Explain necessity of non-appeal orders, orders for transcripts of proceedings involving only a co-defendant, & special authorizations to be
 requested in Section 14 of CJA-24 Voucher (attach additional pages if needed).




 12. ORDER & CERTIFICATION. By signing below, I certify that I will pay all charges (deposit plus additional), or, where applicable, promptly take all necessary steps to secure
 payment under the Criminal Justice Act.
                                                         Date July 3, 2019                              Signature /s/ Gabriella A. Nourafchan
G-120 (06/18)
